                 CUMULATIVE
                  EXHIBIT B




4842-2929-4189
2545600-000214
A Year Inside the Black Lives Matter Movement – Rolling Stone                              Page 1 of 18




                                                                                            Subscribe



   HOME   POLITICS   POLITICS NEWS                                          DECEMBER 7, 2017 5:12PM ET


   A Year Inside the Black Lives Matter Movement
   How America’s new generation of civil rights activists is mobilizing in the age of Trump

   By TOURÉ




   Black Lives Matter protest in New York City, July 10, 2016.
   Benedict Evans/Redux


   Months before the now infamous Unite the Right march this summer, the 10 or so
   members of the Charlottesville chapter of Black Lives Matter heard that the largest
   white-supremacist rally anyone had seen in years was coming to their town. They leapt
   into action. First, they pleaded with local leaders – don’t let this happen. Push it
   elsewhere. The city won’t be safe. The police told the BLM members to stay home. But
   they couldn’t. “We knew it would be the largest fascist gathering in decades,” says David
   Straughn, an actor and writer and a member of BLM Charlottesville. “We had to get
   others to come help us defend the community.” The group put out a call to action to as




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 2 of 18



   many BLM members as it could. And so, on Saturday, August 12th, at noon, when the
   rally began, BLM was ready.




   “There was a strong BLM presence,” says Tsara Nock, a University of Virginia student
   and BLM member. “But they didn’t come in and say, ‘We want to do our own thing.’ They
   were here to see what the activists in Charlottesville needed.” BLM set up safe zones with
   food and water for counterprotesters. But things quickly grew violent. “The white
   nationalists had weapons, shields, helmets,” says Dr. Lisa Woolfork, a UVA English
   professor and BLM member. “They were there to intimidate. They were there to inflict
   harm, physical and mental harm.” Straughn says, “The white supremacists, neo-Nazis
   and alt-right members hit people with sticks, threw rocks, threw bricks, sprayed clergy
   members with pepper spray in the face.”


   Every member of BLM who was there that day says they responded with nonviolence.
   “We came to march,” Straughn says. “Some people assume Black Lives Matter is a violent
   organization, and we didn’t want to give that impression. We came unarmed. We came
   with nothing but peace in our hearts and aggressive words for the Nazis. We knew that if
   we tried to engage them violently, we would be crucified by the media.”


   If BLM being described as nonviolent sounds strange to you, then you’re probably
   watching too much Fox News. The movement has been wildly misunderstood partly
   because of how it’s caricatured and demonized by right-wing media. “We absolutely don’t
   consider Black Lives Matter a hate group,” says Heidi Beirich, the head of the Southern
   Poverty Law Center’s Intelligence project, which tracks hate groups. “Black Lives Matter
   is not a racist group; anyone can join. It’s a movement to expand civil rights for the
   oppressed in this society. It’s a peaceful protest against oppression. There’s simply no
   equivalence between Black Lives Matter and a hate group. It’s truly offensive to equate
   them.”




   RELATED


                   ‘The President Is Acting as If the Russians Have Something on Him.
                   There’s Just No Other Way to Describe It’




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 3 of 18




   Central Figure in the NRA-Russia Scandal Arrested for Acting as a Foreign Agent




   The policy of nonviolence is shared by BLM activists around the country. “I refuse to cede
   the moral high ground to the supremacy we fight,” says Brittany Packnett, an activist and
   co-founder of Campaign Zero, which aims to end police violence. “We don’t need to
   become that which we are fighting.”


   As the white-supremacist rally was ending that Saturday afternoon in Charlottesville,
   Straughn was in the crowd, walking with a large band of counterprotesters. “We thought
   the day was won,” he says. “We went to march down Water Street, chanting, ‘Whose
   streets? Our streets!’ We thought there was complete victory. It was a beautiful moment.”
   For several blocks, he marched alongside a white woman he didn’t know. He says he
   respected her for being out there, and as they walked he began to feel close to her. He
   didn’t know until later that her name was Heather Heyer. “Then,” he says, “we turned left
   onto Fourth Street and that’s when the terrorist attack happened.” A gray Dodge
   Challenger came racing through the crowd, crashing into dozens of people. “I was a foot
   away from Heather when she was hit,” he says quietly. “I saw people in the air, and then I
   saw a car with a bashed windshield right in front of me. I looked down and saw Heather
   bleeding from the leg. I saw her eyes fluttering. I saw her eyes roll to the back of her head,
   and I saw the life pass from her body. For five or six seconds, I forgot how to scream, and
   then I screamed, “Medic!” as loud as I’ve ever screamed in my life.”


   The attack in Charlottesville changed everything. We saw the racist fringe that usually
   hides in the corners of the Internet emerge to show its power. They were American
   terrorists sending a message to the nation – we’re here, we have numbers, we have
   weapons, be afraid. And the president of the United States answered by repeatedly
   signaling that he’s not discomforted by them. “He is in very real terms their president,
   and he constantly affirms that,” says Melina Abdullah, professor and chair of Pan-African
   studies at California State University, Los Angeles, and one of the founding members of
   BLM L.A. “Trump is the white supremacist in chief.”




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 4 of 18




   We now live in a world where white supremacists are trying to become mainstream, and
   the Oval Office is winking at them. A country where Attorney General Jeff Sessions’
   Department of Justice is uninterested in police reform because he’s focused instead on
   doubling down on the endless and racist drug war, adding private prisons, and reducing
   the scrutiny of police departments while arming cops with the military’s guns and tanks.
   Meanwhile, the president publicly jokes that cops should be more physically aggressive
   with suspects and repeatedly attacks NFL players who dare challenge the status quo by
   quietly kneeling during the national anthem.




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 5 of 18



   But BLM activists say they are fighting a problem much bigger than Donald Trump.
   Even when a black man was the so-called leader of the free world, there was a rash of
   incidents around the country in which police officers were videotaped killing unarmed
   black people. The injustice became harder and harder for the mainstream culture to
   ignore. It is BLM – grandchild of the Civil Rights and Black Power movements of the
   Sixties – that emerged from the grassroots to articulate that these deaths were not a
   disconnected series of events but part of a national, systemic problem that flows out of
   institutional racism.


   Even as the movement has done much to raise awareness, the killings they are protesting
   show no signs of abating. “In 13 of the 100 largest cities, police kill black men at higher
   rates than the U.S. murder rate,” says activist and Campaign Zero co-founder Sam
   Sinyangwe. “Black men in many cities face a higher risk of being killed by police than the
   average American has of being killed by anyone.” And the policy and tone of the Trump
   era suggests more violence and more vulnerability ahead. “What shifted under a Trump
   regime,” Abdullah says, “is there’ll be much less opportunity to work with people in any
   level of administration. And we expect a trickle-down effect in policing as far as making
   police feel empowered and emboldened to unleash themselves on the black community.”




   Addressing America’s police-violence problem requires a monumental restructuring of
   the status quo, including changing the use-of-force policies in police departments,
   employing body cameras, hiring more officers who live in the neighborhoods they patrol,
   combating institutional racism and bringing about a new understanding of how black
   bodies are perceived. Any of that would be hard to achieve under any president, but it
   feels impossible when the leaders of the executive branch see black Americans as little
   more than a tool to energize their voters. In both policy and rhetoric, this White House
   will be hostile to Black Lives Matter and classify its activists as all but enemy combatants.
   So how does BLM function in the Trump era?


   One thing it does not do is regret 2016. BLM chose not to endorse a candidate in the
   election, and many members say that Trump’s win did not make them wish they had.
   “The virus is white supremacy,” Packnett says. “We need to focus on the white supremacy
   that grew Trump in the first place.” Rather than looking to elected officials, BLM
   members seem determined to rely on themselves to force change. “It would’ve looked




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 6 of 18



   very different under Hillary Clinton,” Abdullah says, “but it wouldn’t have been any kind
   of ushering in of black liberation under her either. You can’t rely on those in elected office
   to move us toward where we need to be. We choose to exercise a muscle that says our
   power and our liberation relies on us.”


   For more than a year, I traveled around the country, from New York to St. Louis to
   D.C. to L.A., interviewing BLM members about how to go forward when sitting at the
   table of power is not possible. The BLM people I spoke to are responding to being shut
   out of federal conversations by taking action on the local level. That means engaging with
   lawyers to defend those who are stopped by police, shutting down highways to force
   attention on issues of racial justice, raising awareness of the problems and potential
   solutions with websites like joincampaignzero.org and creating safe spaces where black
   people can feel affirmed. They care about rewriting laws as well as nurturing spirits,
   caring for each other and teaching their children that a different future is possible. Being
   in the movement is, for many, like having an all-consuming second job that strains both
   body and spirit. “We’re all exhausted,” Packnett says. “Not just because I’m working for
   years and not sleeping, but we’re also just emotionally taxed. We’re dealing with black
   pain and black death all the time.” Patrisse Cullors, one of the founders of BLM, says,
   “Having to deal with so much death so often is pretty traumatic. Having a movement
   makes me feel like I’m actually doing something instead of sitting around waiting for
   black people to die.”




   The first meeting of what would become the Black Lives Matter organization was held on
   July 15th, 2013, two days after George Zimmerman was acquitted of killing Trayvon
   Martin. “It was in L.A.,” says Abdullah, “in this black artists’ community called St. Elmo
   Village. That’s where Patrisse was living at the time.” Cullors is one of the three founders
   of the BLM organization, along with Opal Tometi and Alicia Garza. That first meeting
   came soon after Garza’s now-famous “Love Letter to Black People” was posted on
   Facebook. It included the phrase “our lives matter.” Cullors reposted it with the hashtag
   #Blacklivesmatter. But the notion that the hashtag magically went viral is a bit romantic.
   “We didn’t just call for Black Lives Matter and it turned viral,” Cullors says. “We were
   having discussions. We built platforms on Twitter, on Facebook and on Tumblr. Opal
   helped really develop the communications plan so that it could go viral.” The nascent
   group was called “Justice for Trayvon Martin Los Angeles.”




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 7 of 18




   That first meeting lasted more than three hours in a cramped room. Shamell Bell, a Ph.D.
   candidate and a choreographer who remains part of BLM, says, “It seemed like an
   Underground Railroad type of meeting. It seemed like something powerful was going to
   happen.” About 30 people were there, most either friends of Cullors, a longtime activist,
   or Abdullah, a professor whom several women said they look up to as a “spiritual mom.”
   “Many of us were tired and disturbed by the lack of recognition towards the killings of
   black people by vigilantes and law enforcement,” Cullors says. “We were tired of it not
   leading the news. We were tired of it not being a part of the conversation around racial
   justice. We were like, ‘What are we going to do next? What’s the strategy?'” They talked
   about fighting against the construction of more jails in Los Angeles. They discussed
   defunding law enforcement. They considered boycotting Nestlé for its involvement with
   ALEC, the conservative policy group behind Stand Your Ground. They talked about
   Marissa Alexander, who was not protected under the same Stand Your Ground law that
   factored into Zimmerman’s acquittal and was in prison in Florida for firing a warning
   shot in an attempt to escape her abusive husband. (She has since been released.)




   “Even then, it was not just about Trayvon but the very different ways that Trayvon
   Martins appear,” says Bell. They discussed direct actions that they knew would have an
   impact. “We were very deliberate about how we wanted the organization to unfold,”
   Abdullah says. “So there were some basic principles.” One of those was, “We don’t want
   to disrupt our space, we want to disrupt the spaces that represent those forces who are
   oppressing us,” she says, meaning: Their protests should take place in white
   neighborhoods. “We decided we wanted to do a march,” Abdullah says, “and we did it in
   Beverly Hills intentionally because that’s what represents white-supremacist, patriarchal,
   heteronormative capitalism.”


   At the first meeting, they also talked about how to create something that would last. “We
   were intentional about wanting to build a movement, not a moment,” Abdullah says. “We
   really wanted to push for a new vision instead of just protesting,” says Cullors.
   “Protesting is super important, but we wanted to be protesting with a set of demands,
   protesting with a strategy.” All 30 people who were at that initial meeting are still
   involved with the organization.




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 8 of 18




   Over the following year, Justice for Trayvon Martin worked to create chapters in other
   cities and spread its message. Then, on August 9th, 2014, Michael Brown was shot and
   killed in Ferguson, Missouri. There had been other tragic, controversial killings, but one
   big difference in Ferguson was that after the shooting, Brown’s body lay in the street for
   more than four hours. Crowds gathered and took photos and videos that went viral.
   Brown’s body, laying in the hot summer sun for hours, communicated a lack of respect
   for his life – which was received as a lack of respect for all black life. “It was a
   disrespected death,” says Kayla Reed, a St. Louis resident who joined the Ferguson
   uprising on day one. “It is repulsive that he had to lay there for four and a half hours and
   that his own grandmother had to plead that a sheet be put over his body.”



https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                             Page 9 of 18




   Brown’s killing sparked massive protests, and the police pushed back in harsh ways,
   imposing a curfew, forcing protesters to march rather than stay in one location, tear-
   gassing them at times. The story dominated the national news for days. People from
   around the country saw what was happening in Ferguson and decided to join. “I was
   looking at what was happening on the news and I was looking at what was happening on
   Twitter, and there were two different stories,” says DeRay Mckesson, who was then
   working in the Minneapolis public-education system and has become an activist and co-
   founder of Campaign Zero with Packnett and Sinyangwe. “On CNN, I saw crazy
   protesters, and on Twitter, I saw pain. I was like, ‘I’m just gonna go.'” He got in a car and
   drove nine hours to St. Louis, then found a place to stay through Facebook. Many people
   have similar stories. “The NAACP didn’t send their special-ops team,” Mckesson says.
   “The churches didn’t organize in the way we thought they would. We had to figure it out.”
   They ended up protesting in the streets of Ferguson for more than 300 days, and the
   lessons they learned, the credibility they gained and the media attention they got – all of
   that led to Black Lives Matter exploding into a national movement.


   Several days into the protests, members of Justice for Trayvon Martin traveled to
   Ferguson to lend their support. Cullors and Abdullah were among them. “We were very
   intentional about that visit,” Cullors says. “We brought only people who had specific skill
   sets. We brought youth workers, we brought medical doctors, we brought healers, we
   brought alternative media, we brought lawyers.” They also brought signs, some of which
   said “Black Lives Matter.” (Abdullah says around the time they went to Ferguson, Justice
   for Trayvon Martin changed its name to Black Lives Matter.)


   Ferguson protesters were photographed holding the signs, and over time media began
   referring to the protests as Black Lives Matter. Since Ferguson, BLM has grown into a
   comprehensive modern civil rights movement that sees civilian interactions with police
   as one part of a systemic problem. Some say there are thousands of active supporters in
   both the movement and the organization, but it’s hard to know how many people are
   involved. “There are about 40 recognized chapters in the networks,” says Aaron Goggans,
   an essayist, poet, organizer and movement strategist. “Most of them have a core team
   from about four to 15 members. That’s core leadership of a few hundred people, with
   probably thousands of people who would say that they roll with BLM.” There are also




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 10 of 18



   groups around the U.S. and even in Canada and the U.K. calling themselves Black Lives
   Matter X – insert a city name. “If you include donors, volunteers, people joining list
   servs, then you are probably looking at active support in the tens of thousands,” Goggans
   says. “If you include people who come to our [events], then it’s a whole lot more. If you
   count all the things that people say are BLM events, then the number gets really high.”
   There have been groups that claim an affiliation with BLM but are not in alignment with
   its guiding values – such as empathy, diversity, justice, globalism, and being queer- and
   transgender-affirming and unapologetically black – and have been harmful to the
   movement. To become an official chapter, local leaders would contact BLM staff and fill
   out an application to be reviewed by the network, but BLM suspended further chapter
   approvals in 2016.




   Decision-making about specific goals or direct actions is made at the local group level.
   There is no national leadership; it is diffused among autonomous chapters and its
   structure is not entirely clear to outsiders, by design. The members I interviewed
   discussed a range of ideas, from imagining transformational new systems to address the
   inequality and oppression in society to more specific and immediate policy goals. For
   some, imagining new systems includes radical ideas like abolishing the police force. In
   BLM circles, it’s referred to as being an “abolitionist.” “It’s not that the police are bad at
   doing something good,” Goggans says. “It’s that they’re good at doing something very
   bad. The system is not reformable – the entire thing needs to change.” Some say they
   foresee neighborhoods policed by unarmed community members instead of by the state’s
   armed guards. Others admit that they’re unsure what a post-police world would look like
   specifically, but for them the current situation is so untenable that anything else is
   preferable. But they also know that the problem is greater than the moment when an
   officer confronts a black citizen. “The question isn’t about that moment,” Cullors says. “If
   we sort of rewind time, what resources did they have in that neighborhood? Do they have
   access to after-school programming? Do they have access to career development? I’m
   talking about really basic things that can lead to different life choices for black people,
   that can lead to a different experience and a different interaction with law enforcement.”




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 11 of 18




   Sometimes resistance doesn’t look like a political act – sometimes it looks like
   people in a park talking about their dreams. Each Sunday afternoon in Washington,
   D.C.’s Meridien Hill Park, also known as Malcolm X Park, Black Lives Matter members
   come together in the same shaded spot to celebrate what they call Black Joy Sundays.
   They listen to African music and burn sage as they talk, dance and sing. The rule is just
   do whatever brings you joy. On the Sunday that I visited with them, people were making
   signs with messages of self-esteem or kicking around a soccer ball or playing cards. On a
   nearby tree was a large sign proclaiming this as a “Black Only Healing Space where we
   can be affirmed in our blackness and cultivate a shared sense of black joy.” Beneath it is a
   handout explaining why this needs to be a black-only space: It isn’t about oppressing



https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 12 of 18



   white people, it’s about black people getting a space where they can feel free. “Spending
   time in a space being loved by black people is revolutionary and valuable,” says Erika
   Totten, who is a spiritual life coach and a committed member of the movement.




   The stress and anxiety of living in a nation that promises liberty and justice for all but
   struggles with letting black people have those privileges, a nation where a significant
   portion of the country is openly racist, including the commander in chief, all that can
   cause deep spiritual pain. BLM considers that part of its purview as well. Members are
   not here just to agitate for political rights, they also see the need to soothe souls. “What
   I’m seeing is symptoms of post-traumatic stress disorder,” says Totten. “If you’re not
   experiencing any joy, you’re going to be defeated, you’re going to be angry. If you’re only
   focused on resistance, it’s just not healthy.”


   BLM offers all sorts of ways to resist – members speak of doing “movement work,” a
   phrase with a very elastic definition. It can mean making calls, organizing meetings,
   engaging with lawyers, doing interviews, creating art, building websites, tweeting facts or
   just helping fellow members get by. “I consider part of my movement work to be
   watching my friend’s kid every other Friday so she can go on date night with her
   husband, because that helps her be sustained and be stronger,” says Goggans. Of course,
   movement work also means direct action. One part of direct action is, as Goggans
   describes it, “Shutting things down.”


   A core BLM tactic has been highway shutdowns. It’s been used in Oakland, L.A., Denver,
   Dallas, Chicago, Atlanta, Minneapolis, Toronto and many other cities. “The strategic
   reason,” Goggans says, “is you have to make the gears of the machine stop working.” He
   references the civil rights legend Bayard Rustin, who spoke of “angelic troublemakers”
   who are needed to make the system unworkable, to make the gears of the machine stop.
   “The only weapon we have is our bodies,” Rustin famously said. “And we need to tuck
   them in places so wheels don’t turn.” What Rustin and Goggans are talking about is civil
   disobedience aimed at halting the flow of capitalism. The idea is that if protesters can
   slow the basic functioning of the capitalist system, even for a short time, then the system
   will be incentivized to negotiate with protesters in hopes of getting back to full-speed
   capitalism as quickly as possible.




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 13 of 18




   It surely angers citizens to have their day interrupted by a politicized highway shutdown,
   even if it only lasts a few minutes. That risks turning potential sympathizers against the
   movement, but BLM members say the inconvenience of a few minutes of traffic is
   nothing compared to the pain of dealing with rampant black deaths by government
   agents. “The disruption piece is our way of saying, ‘No business as usual,'” Cullors says.
   “‘You’re not going to keep killing us and think that you can just go about business as
   usual.'” BLM members are clear that for their protests to be truly effective they must be
   disruptive to those who benefit from white privilege. “This conversation has been
   happening between black people for centuries, and white people don’t even have to
   acknowledge it exists,” says Mica Grim, a BLM activist from Minneapolis. “When we shut
   down the highway, it forces the conversation. It’s also our way of showing Middle
   America a little piece of the inconvenience that it is to be a person of color every day.”




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 14 of 18




   Goggans says there’s also a deeper psychological impact: “It’s about reclaiming our
   power.” Goggans, who has participated in at least seven shutdowns, says they have
   changed his life. “There’s some weird magical thing that happens when you shut down a
   highway. And once you taste that kind of power, you start to ask yourself, ‘Why do I not
   feel this in every part of my life?'”


   Highway shutdowns could become more frightening in the future. Republican lawmakers
   in at least six states have brought up laws that would protect drivers who hit protesters
   blocking traffic. None of the proposals have become law, but the willingness to consider




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 15 of 18



   indemnifying motorists against nonviolent protesters in BLM’s highway shutdowns – as
   well as in traffic-blocking protests against Trump and the building of the pipeline at
   Standing Rock – has sent a message that was heard in the underground racist fringe
   where fantasies of hitting protesters with cars are shared online. It’s not hard to see how
   all of this rhetoric could have contributed to the vehicular-homicide death of Heather
   Heyer.




   Of course, a movement that spends a lot of time standing up to the police has come to
   expect retaliation. “I don’t think black people living in America feel 100 percent safe any
   day of the week,” Packnett says. “But when you intentionally confront oppression, you let
   go of even the semblance of safety that you may have had.” Many members say that their
   phones are tapped and they have been surveilled and followed by police. There have been
   suspicious break-ins and strange cars parked outside members’ homes. Cullors says her
   home has been raided twice by LAPD. She and many other members say they fear
   retaliation. “I think they’re gonna try to kill me,” says Pasadena BLM member Jasmine
   Abdullah. Cullors says that too. (The LAPD did not respond to a request for comment on
   this story.)


   Despite the risks, they feel the need to keep fighting. “This work is too important to allow
   fear,” says Reed, the St. Louis BLM member. Many echo that sentiment. “We don’t
   protest because we want to, we protest because we have to,” Packnett says. “We must
   create something different. We don’t want our children and their children to be living
   with the same fear that we all are.”


   “We have to be visionary,” says Abdullah about how BLM must function in the Trump
   era. “We have to see beyond the moment. Resistance is necessary, but it’s not enough. We
   cannot let this moment tell us that all we need to do is stomp out white men with tiki
   torches. We have to do more than topple Confederate statues. We have to topple white
   supremacy, and to do that means imagining new systems.”


   But “fighting the system can be therapeutic,” Abdullah says. “There is joy in the actual
   fight.” Abdullah is a mother of three, and she beams with pride as she tells a story about
   her young son. In 2015, she was with BLM as they occupied LAPD headquarters for 18
   days. Her boy was then four. “One of the hardest parts of an occupation is finding a




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 16 of 18



   restroom,” she says, “and there’s a restroom inside the LAPD building. So he started
   going into the building to use the restroom, and this big six-foot-four cop told us no. He
   puts his hand on his gun and to my four-and-a-half-year-old son, he says, ‘You can’t come
   in.’ And my son looked all the way up at the cop and sits at the feet of the officer and
   starts meditating. He starts going, ‘Ommmm.’ And the cop backed off.




   “I am very thankful to have a movement like this to raise kids in,” she says, “because
   black children cannot be blind. There’s no way to shield them from the reality of police
   abuse, so to be a part of the resistance movement, to be a part of BLM, is to say, ‘We don’t
   have to submit to it. You’re not powerless.'”

   In This Article: Black Lives Matter, Donald Trump


          Want more Rolling Stone? Sign up for our newsletter.                    COMMENTS     557




                                       Trending




                                 1   A Year Inside the Black Lives
                                     Matter Movement

                                     Watch Sacha Baron Cohen Dupe
                                 2   Gun Lobby in ‘Who Is America?’
                                     Clip

                                     D.B. Cooper: Investigators Claim
                                 3   They’ve Discovered Skyjacker’s
                                     Identity


                                     The Trouble With Johnny Depp




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                            Page 17 of 18



                                 4
                                     ICE Officers to Asylum Seekers:
                                 5   ‘Don’t You Know That We Hate
                                     You People?’



                                      EDITORS' PICKS


                               MOVIE REVIEWS
                               ‘Whitney’ Review:
                               Portrait of Late
                               Singer Puts Tragedy
                               Front and Center




                               MUSIC COUNTRY
                               Why Most Country
                               Fans Can’t Hear
                               Garth Brooks’ New
                               Song ‘All Day Long’




                               MUSIC COUNTRY
                               Texas Senate
                               Hopeful Beto
                               O’Rourke Jams With
                               Willie Nelson in
                               Austin



   Newswire                                                              POWERED BY




   Variety                                           Indiewire
   Junkie XL Moves to ASCAP, Appearing at Film       Why Penélope Cruz Is a Global Star, Even
   Scoring Workshop                                  Before ‘The Assassination of Gianni Versace’ —
                                                     Career Watch
   4 hours ago                                       4 hours ago




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
A Year Inside the Black Lives Matter Movement – Rolling Stone                                        Page 18 of 18




       Rolling Stone



       Legal



       Connect With Us



       Get The Magazine




                  © Copyright 2018 Rolling Stone, LLC, a subsidiary of Penske Business Media, LLC.
                                          Powered by WordPress.com VIP




       Our Brands




https://www.rollingstone.com/politics/politics-news/a-year-inside-the-black-lives-matter-m... 7/16/2018
The Disruptors - CNN.com                                                         Page 1 of 30




          U.S. +




        THE DISRUPTORS




       A
                shift has occurred in the year since Michael Brown’s death sparked
                unrest in the streets of Ferguson, Missouri, on August 9, 2014.

             National conversations have arisen around issues affecting the black
       community in America: police brutality, economic injustice, racial inequality.

       Names that might have made little more than local headlines have become
       national stories: Eric Garner, Tamir Rice, Walter Scott, Sandra Bland.

       It didn’t happen on its own. A grass-roots network of activists and allies is
       mobilizing through social media to shine a national spotlight on the struggles
       that come with being black in America.

       Their rallying cry: Black lives matter. Their slogan: A movement, not a
       moment.




https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                          Page 2 of 30



       “They put things on the agenda that people were not talking about before,”
         U.S. +
       says author and UConn history professor Jelani Cobb.

       Some critics are skeptical of their means and motives, saying it’s not clear
       who’s in charge and what they want. But the movement seeks to be
       intentionally broad to allow everyone to meet specific needs in their
       communities.

       These activists reside outside traditional institutions and power structures.
       Many are social media influencers, better known by their Twitter handles
       than their real names, who can start a trending hashtag or a rally in the
       streets with a single tweet.

       They have gotten the attention of many 2016 presidential candidates,
       though whether any of those candidates can secure the black activist vote
       remains to be seen. Observers say their next move is to create meaningful
       change in communities where they live.

       Here are the stories of 13 of these “disruptors” who are rallying together and
       agitating for change.




     #BlackWorkMatters




https://www.cnn.com/interactive/2015/08/us/disruptors/                                 7/16/2018
The Disruptors - CNN.com                                                       Page 3 of 30




        U.S. +
   Charlene    Carruthers wants to develop young, black leaders
   who can help build political power and change laws.


         "There will always be a need for young black
                   people to be organized."




                                   Charlene Carruthers
                                      30, Chicago




       C
                 harlene Carruthers was at a meeting of young black activists in
                 Chicago two years ago when word spread that George Zimmerman
                 had been found not guilty of murdering Trayvon Martin. “Some
       people cried, some people screamed, some people left, some people were
       silent,” Carruthers says. So she gathered about 20 people and led a strategy
       session in a nearby hotel room on how they could respond to the verdict.
       They decided to attend the 50th anniversary of the March on Washington,
       do a series of digital town halls and release a videotaped statement to the
       Martin family.


       Organizing the Black Youth Project 100




https://www.cnn.com/interactive/2015/08/us/disruptors/                           7/16/2018
The Disruptors - CNN.com                                                       Page 4 of 30




          U.S. +




       A native of the South Side of Chicago, Carruthers holds a master’s degree in
       social work and has been an activist and organizer for 12 years. Two years
       ago, she moved back to Chicago, where she is the national director of the
       Black Youth Project 100, an organization that focuses on issues affecting
       black youth. Carruthers has also been a supporter of the #SayHerName
       campaign, which shines a light on women of color who allegedly have been
       victims of police brutality. She's participating in the movement to increase
       the minimum wage to $15 an hour with the hashtag #BlackWorkMatters too.
       Carruthers says she wants to continue to develop young, black leaders who
       can help build political power and change laws.



                      Charlene Carruthers
                      @CharleneCac

                White people, what are you doing to end white supremacy?
                8:07 AM - Jun 18, 2015

                   629     866 people are talking about this




     #DreamDefenders




https://www.cnn.com/interactive/2015/08/us/disruptors/                           7/16/2018
The Disruptors - CNN.com                                                       Page 5 of 30




          U.S. +




   Through Dream Defenders, Umi Selah works to campaign for
   voting rights and improved education in poor communities.


           "People of our generation have a dream of
            being fulfilled, living a happy life, living in
           communities where people are fair to each
                                other."




                                          Umi Selah
                                          30, Florida




       T
              he catalyst for Umi Selah’s involvement in social-justice issues was
              the controversial death of an unarmed black adolescent in Florida,
              but not the one you’re thinking of. The year was 2006, and the youth
       was Martin Lee Anderson, 14, who died after being forced to exercise at a
       boot camp-style juvenile detention center. Despite being charged with
       aggravated manslaughter in Anderson’s death, seven guards and one nurse
       were all acquitted. Selah joined the student government at Florida A&M
       University, where he co-founded a coalition for justice. His activism




https://www.cnn.com/interactive/2015/08/us/disruptors/                           7/16/2018
The Disruptors - CNN.com                                                          Page 6 of 30



       continued to grow after college, particularly after the 2012 slaying of Trayvon
          U.S. +
       Martin. Selah was living in North Carolina and working in pharmaceutical
       sales when he heard of Martin’s death. “It woke me up from my slumber,”
       says Selah, who recently changed his name from Phillip Agnew. Selah was
       one of a group of activists who met with President Obama and Attorney
       General Eric Holder in December to discuss police brutality in the wake of
       the protests that erupted in Ferguson, Missouri.


       How Selah watched Ferguson unfold online




       In 2012, Selah co-founded Dream Defenders, a racial and social justice
       group based in Miami. The group now has seven full-time staff members,
       chapters in major Florida cities and an annual operating budget of about
       $500,000. In 2013, the Dream Defenders held a sit-in at the Florida capitol
       for 31 days to protest that state’s Stand Your Ground provision. Selah hopes
       to expand the Dream Defenders throughout Florida to campaign for voting
       rights, improved education for poor communities and an end to police
       brutality. Although the goals for the Dream Defenders are varied, Selah says,
       they all have one aim in common: “the liberation, the true freedom of black
       people, poor people and marginalized people in this country.”



                      phillip agnew
                      @PhilofDDreams




https://www.cnn.com/interactive/2015/08/us/disruptors/                              7/16/2018
The Disruptors - CNN.com                                   Page 7 of 30




          U.S. +

     #BlackLivesMatter




   Black Lives Matter has grown to 26 chapters in the United
   States and one in Toronto.


           "So many of us have been forced to be the
            advocates and freedom fighters we are."




https://www.cnn.com/interactive/2015/08/us/disruptors/         7/16/2018
The Disruptors - CNN.com                                                         Page 8 of 30




          U.S. +




                      Opal Tometi                        Patrisse Cullors
                     30, New York                        32, Los Angeles




                                         Alicia Garza
                                         34, Oakland




       T
              he date is burned into Alicia Garza’s memory: July 13, 2013, a page
              on the calendar that means pain. “When George Zimmerman was
              acquitted in the murder of Trayvon Martin, I felt like I'd gotten
       punched in the stomach,” she says. In response, Garza posted a message to
       the black community on Facebook. It included the phrase “black lives
       matter.” Those words filled protest signs in the days that followed and
       became the namesake of the organization Garza would co-found with
       Patrisse Cullors and Opal Tometi.

       The women’s paths crossed after years of advocacy work on their own.
       Cullors started in high school with the Black Student Union and a group that
       offered support for LGBT students. Tometi, a child of Nigerian immigrants
       raised in Arizona, fought for immigrant rights and led discussions for female
       survivors of sexual violence. Middle school marked the start of Garza’s
       involvement with the reproductive justice movement. Garza and Cullors met




https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                         Page 9 of 30



       at a national conference for community organizers in Providence, Rhode
          U.S. +
       Island. They met Tometi at the leadership training program Black Organizing
       for Leadership and Dignity. Social media kept the women connected until
       they formed #BlackLivesMatter after the Zimmerman verdict.



                      Black Lives Matter
                      @Blklivesmatter

                3 black women started #BlackLivesMatter. 1 is Nigerian-
                American, 2 are queer. Complicate the narrative... Because all
                #BlackLivesMatter
                8:26 AM - Feb 5, 2015

                   887     1,152 people are talking about this



       #BlackLivesMatter’s online presence swelled as violent incidents involving
       law enforcement rippled across the country. The movement grew on the
       ground as well; Cullors organized Freedom Rides to Ferguson, Missouri, after
       the death of Michael Brown, with the help of Darnell Moore of MicNews.
       About 500 people from 18 cities converged on Ferguson to support the
       protests, by her count. The outpouring was a signal that the organization
       needed a sustainable national presence. “After our time in Ferguson, many
       were transformed by the experience but also knew that Ferguson was
       everywhere,” Tometi says. “That brutality, poverty and racism was also back
       in their respective home towns and cities.”


       The night Cullors resolved to go to Ferguson




https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                         Page 10 of 30




          U.S. +




       Cullors took the lead, organizing local chapters. The three women traveled to
       support the groups, establishing 26 chapters in the United States and
       another in Toronto. The presence of local leaders has allowed Cullors, Garza
       and Tometi to continue working with other social justice groups while
       ensuring that each chapter has resources to address local issues. Cullors
       works for the Ella Baker Center for Human Rights and founded Dignity and
       Power Now, a group that advocates for incarcerated people and their
       families in Los Angeles. Garza is the special projects director for the National
       Domestic Workers Alliance. Tometi serves as the executive director of the
       Black Alliance for Just Immigration. Despite their work outside of
       #BlackLivesMatter, the founders remain true to its mission. They helped
       organize the first “Movement for Black Lives Convening” in Cleveland in July.

       “Our intentions from the beginning with #BlackLivesMatter was to connect
       Black people together to take action together in defense of our lives and in
       defense of our world,” Garza says. “Those intentions are still true today.”




     #WeTheProtestors




https://www.cnn.com/interactive/2015/08/us/disruptors/                                7/16/2018
The Disruptors - CNN.com                                                        Page 11 of 30




          U.S. +

   DeRay Mckesson believes social media highlights stories that
   otherwise would go unnoticed.


       “We can live in a world where police do not kill
         people. That is a real expectation, a valid
         expectation, and we can actually create a
                 world where that is true.”




                                     DeRay Mckesson
                                      30, Baltimore




       B
                efore August 9, DeRay Mckesson was making a decent living as a
                senior administrator for the Minneapolis Public Schools. A week after
                seeing images of Michael Brown’s body flooding his Twitter feed, he
       jumped in his car to make the nine-hour drive to Ferguson, Missouri. The
       next night he was tear-gassed by police on West Florissant Avenue. “I
       thought, ‘this is not the America I know,’ ” he says. “ ‘This is not what
       America should be.’ ” Mckesson became a full-time protester after quitting
       his day job in March and is now one of the most prominent voices of the
       movement, someone who can set off a trending hashtag with one resonant
       tweet. He appears regularly on TV news shows (including on CNN) and pens
       op-eds for national media outlets. He sat next to presidential candidate Rick
       Santorum at a memorial for the victims of the Charleston church massacre
       and was among the VIP guests invited to the launch of Hillary Clinton’s
       presidential campaign. His profile also has made him a regular target of



https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                         Page 12 of 30



       online trolls, death threats and critics such as Fox News anchor Sean
          U.S. +
       Hannity, who called him a "professional protester" who is just out "to get
       paid," and Montel Williams, who says, “he’s no MLK.” In response, the King
       Center has called Mckesson “a man of consciousness whose life is
       threatened daily because of his activism.”




                      deray
                      @deray

                McKinney, Texas. 7/6/15. There were "too many black" kids at a
                party. Officers arrive. America. [TW]
                10:22 AM - Jun 7, 2015

                   13.8K      31.7K people are talking about this



       Mckesson uses social media to share news related to police-involved deaths,
       from photos and videos to police reports and court records. He believes
       social media can “highlight stories that otherwise would have gotten no
       visibility” and allows the movement to speak with more “immediacy and
       regularity” than previous civil rights struggles. As soon as Mckesson arrived
       in Ferguson, he began using Instagram and Twitter to share images of
       protests, information about rallies and resources for protesters. He also
       started the Ferguson Protest Newsletter to share news about campaigns,
       demonstrations, petitions and updates on Officer Darren Wilson's case. The
       newsletter eventually shifted focus to police-involved deaths and actions
       nationwide, growing into We The Protesters, a hub that includes activist




https://www.cnn.com/interactive/2015/08/us/disruptors/                              7/16/2018
The Disruptors - CNN.com                                                         Page 13 of 30



       toolkits and stats related to police violence. Mckesson has returned to
          U.S. +
       Ferguson for other protests and has visited Baltimore, Charleston and New
       York to document rallies and assist in organizing. “Either the story is never
       told,” he says, “or it’s told by everybody but us.”




     #SayHerName




   Ashley Yates is working to build a network of people and
   organizations dedicated to ending structural racism on various
   fronts.


         “Black people have been resisting since the
            first slave ships arrived. We have been
        resisting from day one, since we were brought
                           over here.”




https://www.cnn.com/interactive/2015/08/us/disruptors/                                 7/16/2018
The Disruptors - CNN.com                                                        Page 14 of 30




          U.S. +




                                          Ashley Yates
                                          30, Oakland




       A
                shley Yates became politicized as a teenager, when her aunt
                introduced her to the writings of James Baldwin, Sonia Sanchez
                and Assata Shakur. She honed her organizing skills as political
       chairwoman of the University of Missouri’s Legion of Black Collegians, where
       she was inspired by a meeting with activist Fred Hampton Jr. And she
       protested in the streets after Trayvon Martin was slain in 2012. But her full-
       time activism wasn’t triggered until Michael Brown's death in Ferguson,
       Missouri, which occurred just a few miles from her home. “It was Trayvon on
       my street. All of the rage and pain and trauma was right at my doorstep. I
       was fully committed, and I was all in."



                      ashley yates
                      @brownblaze

                "How can someone be racist if they have friends who are
                Black?"

                The same way serial killers can have friends who are alive.
                11:41 AM - Feb 20, 2015

                   6,969     9,451 people are talking about this



       Yates heard about Brown’s death via Twitter and headed almost
       immediately to Ferguson, where she joined a group of activists outside
       the police department, demanding answers. Within a month, Yates had quit
       her merchandising job to focus on mobilizing others around issues of police



https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                        Page 15 of 30



       violence and racial equality. During protests across St. Louis, she joined
          U.S. +
       Brittany Ferrell and Alexis Templeton to create Millennial Activists United, a
       grass-roots group that seeks to empower young women and people of
       color. Yates helped organize “Ferguson October: Weekend of Resistance”
       and was one of a group of activists who met with President Obama at
       the White House in December. More recently, she’s been planning events
       across the country to protest police killings of black women (#SayHerName),
       including a May demonstration in which a group of bare-breasted black
       women stopped traffic in San Francisco. Yates is working to build a network
       of people and organizations, in cooperation with more experienced leaders,
       dedicated to ending structural racism in law enforcement, education, the
       prison system and elsewhere.




     #IfWeAintSafeInChurch




   Erika Totten sees her role in the movement as an “emotional
   emancipator,” breaking down the constant stress she says
   black people live under.




https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                       Page 16 of 30



       “No   one has ever gotten liberation by following
        U.S. +
            rules that the oppressor puts in place.”




                                        Erika Totten
                                       32, Washington




       Y
               ou might recognize Erika Totten’s handiwork even if you don’t know
               her name. A head of the local Washington, Virginia and Maryland
               chapter of Black Lives Matter, Totten once led a partial shutdown of
       the highway that runs through the capital and had the lights thrown on
       during a screening of “Exodus: Gods and Kings,” a piece of “white
       supremacist propaganda,” as she called it. Her “team” interrupted an event
       at the Netroots Nation conference featuring Democratic presidential
       candidates Bernie Sanders and Martin O’Malley in July. The 32-year-old
       mother says she uses these radical tactics to break down barriers, heal
       hearts and change the system to ensure a better future for her children.




https://www.cnn.com/interactive/2015/08/us/disruptors/                            7/16/2018
The Disruptors - CNN.com                                                           Page 17 of 30



       The genesis of Totten’s activist work was the death of Trayvon Martin, an
           U.S. +
       event that sent her into a deep depression. “I would look at black boys and
       girls and my children and husband and know that there would be no justice
       for them if anything were to happen,” she says. When she saw the uprising
       in Ferguson blowing up her social media feed, she got in a car and drove 16
       hours to join the cause. Totten now sees her main role in the movement as
       an “emotional emancipator,” breaking down the constant stress she says
       black people live under. Totten spoke to CNN on a Sunday, an hour before
       heading to a “safe space” gathering that she helped organize at a park in
       Washington, a recent tradition born out of the Charleston massacre and bred
       by the hashtag #IfWeAintSafeInChurch. At the gatherings, Totten says,
       friends and strangers meet to picnic, pray and sing, and to "restore our
       spirits for the next week."

       “I think a lot of black people feel heavy and have heavy hearts just from
       being black in this country.”




     #YouOkSis




   Michelle Taylor started the hashgtag #YouOkSis to shed light
   on daily incidents of street harassment women experience.


https://www.cnn.com/interactive/2015/08/us/disruptors/                                7/16/2018
The Disruptors - CNN.com                                                      Page 18 of 30




          U.S. +
         "People feel like they are being institutionally
           oppressed, and institutional oppression is
                        costing us lives."




                                         Michelle Taylor
                                         36, New York




       A
                fter Michael Brown was killed last summer, New York-based social
                worker and writer Michelle Taylor saw a few people tweeting about
                wanting to hold a vigil in Brown’s memory. But the date, a summer
       Sunday in New York City when many people might be delayed by subway
       construction or out of town, worried Taylor. So she started the hashtag
       #NMOS14, or National Moment of Silence, and began using that to
       encourage others across the country via Twitter to hold vigils that Thursday
       night instead. The plan worked and within eight hours, Taylor says, she had
       “25 people in 25 cities agreeing to put something together.” Within four days
       Taylor counted 119 vigils around the country. “The majority of the people
       who organized the vigils had never done anything like this before.”



                             #GlitterOnTheCash
                      @FeministaJones

                JUST    BECAUSE   YOU    DON'T  EXPERIENCE
                SOMETHING    IT   DOESN'T   MEAN   IT
                DOESN'T    HAPPEN
                8:59 AM - Jun 27, 2015




https://www.cnn.com/interactive/2015/08/us/disruptors/                            7/16/2018
The Disruptors - CNN.com                                                        Page 19 of 30



       Taylor, who goes by Feminista Jones online and calls herself a “post modern
          U.S. +
       sex-positive, Black feminist woman,” wants to use her training and voice to
       advance the notion that black lives matter. “I just want to help people,” says
       Taylor, who has a master’s degree in organization leadership and
       management as well as public administration. “I can implement a vision and
       I can motivate people to implement that vision.” She hosts a podcast, was a
       weekly columnist for Ebony.com and is on the editorial board of
       BlogHer.com. In July 2014, Taylor started the hashgtag #YouOkSis, which
       was meant to shed light on the daily incidents of street harassment women
       face. The hashtag became a viral sensation and a place where women could
       tell their stories of having been harassed and share intervention tactics. In
       2014, Taylor won a Black Weblog Award for “Outstanding Achievement in
       Online Activism.”




     #MikeBrown




   President Obama appointed Brittany Packnett last year to a
   task force on the problem of police violence.


                   “Our humanity is non-negotiable.”


https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                         Page 20 of 30




          U.S. +




                                     Brittany Packnett
                                        30, St. Louis




       B
               orn in St. Louis, Brittany Packnett was raised with an activist mindset
               and recalls going to protests and marches at a young age. She
               taught third grade and worked for her congressman Rep. William
       Lacy Clay Jr. (D-Missouri) for several years before moving back home to
       become executive director of the St. Louis chapter of Teach for America,
       which encourages professionals to spend several years teaching at inner-
       city schools. Packnett joined the protests in Ferguson the day after Michael
       Brown’s death, where her high profile and prolific social media posts quickly
       earned her national recognition. Packnett says Brown’s death wasn’t “a
       change so much as a reminder, a reminder that being continuously
       uncomfortable is necessary in this work.”




https://www.cnn.com/interactive/2015/08/us/disruptors/                              7/16/2018
The Disruptors - CNN.com                                                          Page 21 of 30



       Packnett’s main goals are reducing police violence and inequities in the
          U.S. +
       criminal justice system and improving the lives of young people through
       education and social empowerment. “Change, real change, is a continual
       process,” she says. President Obama appointed her last year to a task force
       on the problem of police violence; she and her colleagues issued a report
       with policy recommendations in April. Missouri Gov. Jay Nixon appointed
       Packnett to the Ferguson Commission, which is looking into broad issues
       affecting the St. Louis area. Despite these establishment roles, she remains
       an active protester and has not moderated her impassioned statements on
       social media. Still, she says, the constant drumbeat of police violence, death
       and racial conflict can be emotionally draining. “It’s honestly really sad to me
       that we have so many names that have become hashtags,” she says, “and
       yet, it’s important for people to not forget the names.”




     #MappingPoliceViolence




   Johnetta Elzie believes social media has allowed black people
   to control the narrative by telling their own stories.




https://www.cnn.com/interactive/2015/08/us/disruptors/                               7/16/2018
The Disruptors - CNN.com                                                          Page 22 of 30



           “Having national attention on issues that
          U.S. +
       affect the black community is something that’s
       never happened in my generation, and it would
          not have happened without social media.”




                                        Johnetta Elzie
                                         26, Chicago




       A
                fter Trayvon Martin was fatally shot in 2012, Johnetta Elzie donned a
                hoodie and marched with other protesters in her hometown of St.
                Louis. After the rally, though, she was at a loss for ways to help save
       black people in her community from a similar fate. Three years later, the 26-
       year-old is traveling the country to talk at conferences and workshops about
       police accountability and organizing on social media. Michael Brown’s death
       “radicalized” her into action, says Elzie, who has also lost a friend to a deadly
       encounter with police. “Every black person knows someone who has been
       harmed by police violence.” She was in Ferguson hours after Brown’s death
       and was stunned by what she witnessed: children who described seeing his
       body lying in the street; adults running from police dogs. “Our babies
       shouldn’t know that this is the norm,” she says. “They shouldn’t have to
       experience this kind of trauma.”

       Elzie was a fixture in Ferguson leading up to a grand jury’s decision in
       November not to indict Officer Darren Wilson. She and DeRay Mckesson
       came up with a messaging system that alerted more than 50,000 people to
       news of the decision. Since then, she has worked with Mckesson to
       campaign for police accountability. Her main projects include Mapping
       Police Violence, which collects data on police killings, and Check the Police,




https://www.cnn.com/interactive/2015/08/us/disruptors/                                7/16/2018
The Disruptors - CNN.com                                                           Page 23 of 30



       a growing database of police union contracts and other law enforcement-
          U.S. +
       related documents.




                        Johnetta Elzie
                        @Nettaaaaaaaa

                Police Violence Reports for March & April 2015. Check
                Mappingpoliceviolence.org for more details.
                9:58 AM - Jun 1, 2015

                   34      70 people are talking about this



       “Police violence is national conversation.” Social media has allowed black
       people to control the narrative by telling their own stories, Elzie says, cutting
       out the need for mainstream media to inform the public. “People are getting
       information quicker and holding folks in power accountable.”




     #JusticeTogether




https://www.cnn.com/interactive/2015/08/us/disruptors/                                 7/16/2018
The Disruptors - CNN.com                                                      Page 24 of 30




          U.S. +




   Shaun King mobilizes activists through his writings and is on
   the board of Justice Together, a new group dedicated to
   fighting police brutality.


          “A tweet is fast. But everything about policy
            change is very slow. And a lot of us are
                            impatient.”




                                          Shaun King
                                          35, Atlanta




       S
               haun King's passion for activism was kindled in high school in rural
               Kentucky, when he says he was severely injured after being
               assaulted by a group of white students. King, who is mixed-race,
       missed 18 months of school while recovering from spinal surgeries, he says,
       but the ordeal led him to become an advocate for social justice: “It changed
       the trajectory of my life.” Since graduating from Morehouse College, King has
       worked as a teacher, a counselor, a pastor, an author and a motivational




https://www.cnn.com/interactive/2015/08/us/disruptors/                            7/16/2018
The Disruptors - CNN.com                                                           Page 25 of 30



       speaker. Since last fall, he’s been a staff writer at the liberal blog Daily Kos,
         U.S. +
       covering issues around race and police brutality. He did not visit Ferguson or
       Baltimore, although he has written extensively about the deaths of Michael
       Brown, Eric Garner, Freddie Gray and others.


       Dear Mike. We will not stop fighting for you brother.
       pic.twitter.com/ZhhqPRFFT8

       — Shaun King (@ShaunKing) November 25, 2014


       King mobilizes activists through his writings and is on the board of Justice
       Together, a new group dedicated to fighting police brutality. He also uses
       Twitter and Facebook daily to post news, essays, articles and provocations
       about racism and police brutality. “I see my role as sort of an informed
       outsider. I try to talk about it from outside the storm instead of being in the
       eye of the storm.” He sees no evidence that police brutality toward minorities
       in the U.S. has decreased in the past year, which he finds “deeply
       discouraging.” King would like to see more black police officers and
       prosecutors, as well as greater transparency about police interactions with
       the people they arrest. In the meantime, he remains convinced that
       Americans are becoming more informed and engaged about the issue. “I’m
       convinced we’re on the brink of some change. But it’s not happening yet.”




     #Ferguson




https://www.cnn.com/interactive/2015/08/us/disruptors/                                7/16/2018
The Disruptors - CNN.com                                                       Page 26 of 30




          U.S. +




   Kayla Reed became an activist overnight. "A door kind of
   opened for me."


        “People think that we do this just because we
         hate the police, and that’s not the issue. We
         love our people enough to fight for them, to
           make sure that police are accountable.”




                                         Kayla Reed
                                         25, St. Louis




       A
                year ago, Kayla Reed was a pharmacy technician with a second job
                at a furniture store. Reed was at that second job on August 9, 2014,
                when a woman told her a police officer had just shot a young man
       outside the Canfield Green Apartments in nearby Ferguson. When she
       finished work, Reed joined the crowd gathered at the scene of Michael
       Brown’s death, where confusion and outrage were brewing. As more police
       arrived, by her account heavily armed and aggressive, a group of community
       members formed to demand answers. Reed became an activist overnight.
       “A door kind of opened for me,” says the lifelong St. Louis resident. “There
       was this sense of community. I had never seen anything like that before.”
       Despite the chaos and the tear gas, Reed returned to Ferguson day after day




https://www.cnn.com/interactive/2015/08/us/disruptors/                            7/16/2018
The Disruptors - CNN.com                                                            Page 27 of 30



       to bear witness and push for change. “I just felt like I had to come out every
          U.S. +
       day to make sure the people I knew were okay.”



                        Kayla Reed
                        @iKaylaReed

                The preservation of ALL life is necessary but there is ONLY a
                systematic genocide against people of color. Which is why
                #BlackLivesMatter
                11:08 PM - Dec 10, 2014

                   46      73 people are talking about this



       Reed now works full-time with the Organization for Black Struggle, an
       activist group that trains young people, engages in protest and pushes for
       policy change. Reed also sees her role as an occasional citizen journalist.
       She contends that law enforcement has grown unnecessarily violent and
       aggressive since August 2014, and she regularly uses Twitter to draw
       attention to alleged police misconduct. A year out from the initial uprising in
       Ferguson, Reed thinks it’s time for the protest movement to engage in self-
       reflection and spread a message fundamentally centered on the concept of
       love.




       By: Brandon Griggs, Emanuella Grinberg, Katia Hetter, Wyatt Massey,
       Melonyce McAfee, David Shortell, Tanzina Vega and Eli Watkins. Videos by
       Brenna Williams.



 Paid Content                                          More from CNN

Wow - That's The New Line of 2018                     They thought a squirrel was eating their
Luxury Cars                                           tomatoes. But it was the mailman

Glasses-Wearers Are Going Crazy Over                  World's best restaurant for 2018 revealed
This Website
                                                      Georgia woman arrested after cop
                                                      appears to use coin flip app



https://www.cnn.com/interactive/2015/08/us/disruptors/                                 7/16/2018
The Disruptors - CNN.com                                                              Page 28 of 30



See Why People Are Loving This                     Teenage girl dies after being swept over
        U.S. +
Detergent Startup - 30,000 Customers               125-foot waterfall
Can’t Be Wrong
                                                   Quickly catch up on the day's news
Tennessee: Say Goodbye To Your
Mortgage If You Have No Missed                     China censors John Oliver after scathing
Payments                                           20 minute video

Elin Nordegen Is Definitely Not Like We
Remembered

Wow - These New Luxury Cars Are
Loaded


                                                                     Recommended by




                                                   Search CNN...                            




https://www.cnn.com/interactive/2015/08/us/disruptors/                                   7/16/2018
The Disruptors - CNN.com                                                        Page 29 of 30




   U.S.   U.S. +           World
   Crime + Justice         Africa
                                                  45                Markets
   Energy + Environment Americas
                                                  Congress          Tech
   Extreme Weather         Asia
                                                  Supreme Court     Media
   Space + Science         Australia
                                                  2018              Personal Finance
                           Europe
                                                  Key Races         Luxury
                           Middle East
                                                  Primary Results
                           UK


   Opinion
   Political Op-Eds
                           Food                   Stars             Business
   Social Commentary
                           Fitness                Screen            Culture
                           Wellness               Binge             Gadgets
                           Parenting              Culture           Future
                           Vital Signs            Media             Startups




https://www.cnn.com/interactive/2015/08/us/disruptors/                             7/16/2018
The Disruptors - CNN.com                                                                Page 30 of 30




            U.S. +                                                        Video
                                                                          Live TV
   Arts                    Destinations           Pro Football
                                                                          Digital Studios
   Design                  Food & Drink           College Football
                                                                          CNN Films
   Fashion                 Play                   Basketball
                                                                          HLN
   Architecture            Stay                   Baseball
                                                                          TV Schedule
   Luxury                  Videos                 Soccer
                                                                          TV Shows A-Z
   Autos                                          Olympics
                                                                          CNNVR
   Video


   Shop                    More…
   CNN Underscored         Photos
   -Explore                Longform
   -Wellness               Investigations
   -Gadgets                CNN profiles
   -Lifestyle              CNN Leadership
   CNN Store               CNN Newsletters
                           Work for CNN




    U.S. Edition +
   © 2018 Cable News Network. Turner Broadcasting System, Inc. All Rights Reserved.
   CNN Sans ™ & © 2016 Cable News Network.

   Terms of Use | Privacy Policy | Accessibility & CC | AdChoices  | About us | CNN Studio Tours
   | CNN Store | Newsletters | Transcripts | License Footage | CNN Newsource




https://www.cnn.com/interactive/2015/08/us/disruptors/                                      7/16/2018
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           2145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




    ./ÿ123ÿ456789ÿ;<ÿ=>?ÿ@ABAÿCÿD;E;FÿB;GHIJÿ@>BKABÿJICI;>LAMÿ;LÿIHAÿNAAO
    P>?IHÿCLMÿ=>?ÿLAAMAMÿI>ÿGAIÿJ>QAÿ?BGALIÿLA@Jÿ>?IÿI>ÿIHAÿBAJIÿ><ÿIHA
    @>BFMR@>BMÿ><ÿCÿSACI;LGÿ>BÿCLÿCDI;E;JITJÿCBBAJIÿ>BÿJ>QAÿSBA@;LGÿJICIA
    ><ÿMCLGABR=>?ÿ@>?FMÿF;KAF=ÿHACMÿJIBC;GHIÿ<>BÿCÿIAFAOH>LAU
    VB>QÿCLÿ><<;DAÿ>BÿCÿOH>LAÿS>>IHÿ;LÿH>JI;FAÿIABB;I>B=Wÿ=>?ÿ@>?FMÿOFCDAÿC
    DCFFÿI>ÿ>LAÿ><ÿIHAÿQCX>BÿLCI;>LCFÿD;E;FÿB;GHIJÿ>BGCL;YCI;>LJUÿZ?Iÿ=>?
    @>?FMLTIÿM>ÿ;IÿS=ÿM;CF;LGÿCÿJICLMCBMÿF>LG[M;JICLDAÿL?QSABUÿ\HCIÿ@>?FM
    ;LE>FEAÿJOACK;LGÿ<;BJIÿI>ÿCÿJ@;IDHS>CBMÿ>OABCI>BR@H>ÿ@CJÿS>?LMÿI>
    SAÿ@H;IAÿCLMÿ@H>ÿQ;GHIÿSF>DKÿ=>?BÿDCFFUÿ]LJIACMÿ=>?TMÿM;CFÿIHAÿL?QSAB
    <>BÿJ>QAIH;LGÿDCFFAMÿCÿ^;MAÿ_BACÿ\AFAOH>LAÿPABE;DAWÿ>Bÿ^_\PWÿF;LAU
    `;KAÿCLÿabbÿF;LAWÿ=>?ÿD>?FMÿM;CFÿCÿ^_\PÿL?QSABÿ<B>QÿCL=@HABAÿ;LÿIHA
    BAG;>LÿCLMÿIHAÿDCFFÿ@>?FMÿOCIDHÿM;BADIF=ÿIHB>?GHÿI>ÿIHAÿS?J;LAJJÿ>B
    >BGCL;YCI;>LÿIHCIÿOC;Mÿ<>BÿIHAÿF;LAR;LÿIH;JÿDCJAWÿJC=WÿIHAÿPI?MALI
    c>LE;>FALIÿd>>BM;LCI;LGÿd>QQ;IIAAU

    eLÿIHAÿ>IHABÿALMÿ><ÿIHAÿF;LAWÿCL>IHABÿD;E;FÿB;GHIJÿ@>BKABÿ@>?FMÿSA
    BACM=ÿI>ÿICKAÿM>@Lÿ=>?BÿBAO>BIÿCLMÿCFFÿIHAÿ>IHABJÿO>?B;LGÿ;Lÿ<B>Q
%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           4145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
    /01234ÿ46788393:ÿ769144ÿ803ÿ;1<80=ÿ>03ÿ83943?ÿ768@12A/76B3:ÿC9@83A</4
    C1<D:ÿ8032ÿE3ÿ61F/@D3:ÿ@281ÿF@F31G97/03:ÿHIJ>;ÿ93/1984KÿF7@D3:
    1<8ÿ81ÿ19G72@L78@12ÿD37:394?ÿ803ÿF3:@7?ÿ803ÿM<48@63ÿN3/798F328?
    D7CO394?ÿ72:ÿ18039ÿP9@32:4ÿ1Pÿ803ÿF1Q3F328ÿ769144ÿ803ÿ61<289O=
    R2ÿ18039ÿC19:4?ÿ@8ÿ811Bÿ7ÿD18ÿ1Pÿ@2P97489<68<93ÿ81ÿD@Q3A8C338ÿC078ÿC74
    G1@2Gÿ12ÿ@2ÿ803ÿ4893384ÿ1Pÿ803ÿM@FÿS91Cÿ;1<80=




                                                                                              TUVWVTÿYZ[\]ZY^_`




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                             .145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




                                                                                                  /0121/ÿ45678549:;



    <=>ÿ@ABCDÿEFGHA@ÿIFJDID=KÿHEÿELAMDNÿO>ÿKLDÿKDGL=F@FC>ÿAJAH@AO@DÿKFÿHK
    A=NÿKAH@FBEÿHKEÿCFA@EPÿKAGKHGEPÿA=NÿBLDKFBHGÿKFÿKLDÿIDNHAÿFQÿHKEÿKHIDRÿS=
    KLDÿAQKDB=FF=ÿFQÿTU=NA>PÿVABGLÿWPÿXYZ[Pÿ\LD=ÿJFKH=C]BHCLKEÿIABGLDBE
    H=ÿTD@IAPÿ<@AOAIAPÿ\DBDÿBU=ÿNF\=ÿO>ÿMF@HGDID=ÿAKÿKLDÿ^NIU=Nÿ_DKKUE
    `BHNCDPÿKLDÿa<bTÿ@H=DEÿ\DBDÿH=ÿLDAJ>ÿUEDRÿcdeDBDÿGFIDÿKLDÿ\LHKD
    LFFN@UIEPfÿA=ÿAGKHJHEKÿEAHNÿQBFIÿAÿGFB=DBÿMA>ÿMLF=DÿAKÿghi[ÿMIRjÿ̀UK
    KLDÿKDGL=F@FC>ÿKLAKÿ\AEÿIFEKÿHIMFBKA=KÿKFÿKLDÿIFJDID=KkEÿ@ABCDB
%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                                 .145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
    ./01ÿ3.1ÿ456ÿ/4ÿ.76/8/1619ÿ:.4;1ÿ.6ÿ.<<=ÿ>6ÿ3.1ÿ/4ÿ.ÿ1?6ÿ5@ÿ@/<0ÿ7.4/16?A1
    B?/4Cÿ@?AA/?;ÿD.16ÿD5</7?ÿB<57E.;?1ÿ54ÿF/C:3.GÿHIÿBGÿ.4ÿJKLÿM?31ÿNO
    7A?3PÿA.7/4Cÿ@5Aÿ6:?ÿQ546C50?AGÿ./AD5A6ÿ.4;ÿ:?.;/4Cÿ65ÿM?3ÿR5AEÿ@5A
    .4ÿ?8?4/4CÿBA5.;7.16SÿN:.6ÿ4/C:6PÿTHÿ0/<</54ÿJ0?A/7.41ÿ35U<;ÿ3.67:
    6:?ÿ17?4?ÿ/4ÿ6:?/Aÿ</8/4CÿA5501Pÿ.4;ÿ.ÿ@?3ÿ;.G1ÿ<.6?AÿQ.A6/4ÿVU6:?A
    W/4CÿXASÿ35U<;ÿ<.GÿB.A?ÿ6:?ÿ058?0?4691ÿ75A?ÿ0?;/.ÿ16A.6?CGSÿYZ?ÿ3/<<
    45ÿ<54C?Aÿ<?6ÿ6:?0ÿU1?ÿ6:?/Aÿ7<UB1ÿ54ÿU1ÿ/4ÿ6:?ÿ;.AEÿ75A4?A1P[ÿ:?ÿ1./;S
    YZ?9A?ÿC5/4Cÿ65ÿ0.E?ÿ6:?0ÿ;5ÿ/6ÿ/4ÿ6:?ÿC<.A/4Cÿ</C:6ÿ5@ÿ6?<?8/1/54S[




    Y>6ÿ3.1ÿ.ÿA.A?ÿ.;0/11/54P[ÿ3A/6?1ÿ0?;/.ÿ:/165A/.4ÿJ4/E5ÿK5;A5C:E5\GS
    YW/4Cÿ.4;ÿ56:?Aÿ7/8/<ÿA/C:61ÿ5AC.4/\?A1ÿ1?<;50ÿ.7E453<?;C?;ÿ6:?/A
    534ÿ1?<@]75417/5U1ÿU1?ÿ5@ÿ6:?ÿ0.11ÿ0?;/.S[ÿN5;.G91ÿJ@A/7.4]J0?A/7.4
    7/8/<ÿA/C:61ÿ5AC.4/\?A1PÿBGÿ7546A.16Pÿ6.<Eÿ.B5U6ÿ6:?ÿ655<1ÿ5@ÿ0.11
    7500U4/7.6/54ÿ.<<ÿ6:?ÿ6/0?^B?7.U1?ÿ6:?/Aÿ0?;/.ÿ16A.6?CGÿ1?11/541
    .A?ÿ<.AC?<Gÿ5D?4ÿ65ÿ?8?AG54?ÿ54ÿ6:?ÿ>46?A4?6S
    >@ÿG5U9A?ÿ.ÿ7/8/<ÿA/C:61ÿ.76/8/16ÿ/4ÿ_I`aÿ.4;ÿG5Uÿ4??;ÿ65ÿC?6ÿ150?ÿ4?31
    5U6PÿG5UAÿ@/A16ÿ058?ÿ/1ÿ65ÿ7:551?ÿ.ÿD<.6@5A0Sÿ>@ÿG5Uÿ3.46ÿ65ÿD516ÿ.ÿ8/;?5
    5@ÿ.ÿDA56?16ÿ5Aÿ.ÿ8/5<?46ÿ.AA?16PÿG5UÿDU6ÿ/6ÿUDÿ54ÿO/4?Pÿ>416.CA.0Pÿ5A
    b?A/175D?Sÿ>@ÿG5Uÿ3.46ÿ65ÿ.85/;ÿ6A5<<1ÿ5Aÿ1455D/4Cÿ.U6:5A/6/?1ÿ.4;ÿG5U
    4??;ÿ65ÿ755A;/4.6?ÿ150?ÿE/4;ÿ5@ÿ.76/54PÿG5Uÿ0/C:6ÿ7:.6ÿDA/8.6?<Gÿ3/6:
    56:?Aÿ.76/8/161ÿ54ÿcA5UDQ?Sÿ>@ÿG5Uÿ3.46ÿ65ÿA.D/;<Gÿ05B/</\?ÿ.ÿBU47:ÿ5@
    D?5D<?ÿG5UÿE453ÿ.4;ÿG5Uÿ;5496ÿ3.46ÿ6:?ÿ3:5<?ÿ35A<;ÿ7<U?;ÿ/4PÿG5UÿU1?
%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           )145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
    ./.ÿ12ÿ34567899:ÿ;<ÿ=1>ÿ?5@6ÿ61ÿA1BCDCEFÿ5ÿ61@ÿ1<ÿ9F19DFÿ=1>ÿACG46
    @16ÿH@1?ÿ5@Iÿ=1>ÿI1ÿ?5@6ÿ64Fÿ?41DFÿ?12DIÿ61ÿ65DHÿ5B1>6ÿC6JÿK?C66F2:
    8@IÿC<LÿM1Iÿ<12BCILÿ=1>ÿ<C@Iÿ=1>27FD<ÿ765@IC@GÿC@ÿ<21@6ÿ1<ÿ64Fÿ@FN6
    /CO45FDÿP21?@ÿ12ÿ35D6F2ÿ.O166Lÿ5@Iÿ=1>ÿH@1?ÿ64Fÿ@56C1@Q7ÿ566F@6C1@
    @FFI7ÿ61ÿ7?F2RFÿ452Iÿ61ÿ=1>2ÿ61?@Lÿ=1>2ÿBF76ÿBF6ÿACG46ÿBFÿ61ÿ7F@Iÿ5
    IC2FO6ÿAF775GFÿ61ÿ71AF1@FÿDCHFÿSFT5=ÿ/OHF771@Lÿ1@Fÿ1<ÿ5ÿ45@I<>Dÿ1<
    5O6CRC767ÿ?41ÿ7C6ÿ56ÿ64Fÿ59FNÿ1<ÿ71OC5Dÿ@F6?12H7ÿ6456ÿ@1?ÿ2>@ÿ4>@I2FI7
    1<ÿ641>75@I7ÿ7621@G:ÿUK4Fÿ64C@Gÿ5B1>6ÿVC@Gÿ12ÿWDD5ÿP5HF2ÿC7ÿ6456ÿ64F=
    O1>DIÿ@16ÿX>76ÿ?5HFÿ>9ÿ5@Iÿ7C6ÿ56ÿ64FÿB2F5H<576ÿ65BDFÿ5@Iÿ65DHÿ61ÿ5
    ACDDC1@ÿ9F19DFLYÿ75=7ÿ/OHF771@Lÿ5ÿ<12AF2ÿ7O411DÿIC762CO6ÿ5IAC@C7625612
    ?41ÿ457ÿBFO1AFÿ1@Fÿ1<ÿ64FÿA176ÿRC7CBDFÿ<5OF7ÿ1<ÿ64FÿA1RFAF@6:ÿUK4F
    611D7ÿ6456ÿ?Fÿ45RFÿ61ÿ12G5@CEFÿ5@Iÿ61ÿ2F7C76ÿ52Fÿ<>@I5AF@65DD=
    IC<<F2F@6ÿ645@ÿ5@=64C@Gÿ6456Q7ÿFNC76FIÿBF<12FÿC@ÿBD5OHÿ762>GGDF:Y




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           3145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
                                                                                   ÿ




    /012341567892::7;ÿ073297ÿ2ÿ=28=:2>ÿ@AÿBCDÿEFGGDHÿIJÿKLMNOÿPCDA
    QAÿRQSTQAUOÿVQT@JIHA@QOÿTQWIHÿIHXQA@YDHÿAQGDUÿZT@[@Qÿ\QHYQÿHDE]IAUDU
    IAÿCDHÿ^Q[DWIISÿ]QXDÿBIÿBCDÿQ[_F@BBQTÿIJÿ\DIHXDÿ̀@GGDHGQAOÿBCDÿGQA
    PCIÿXFAADUÿUIPAÿaHQbcIAÿdQHB@Aeÿf@A[DÿBCDAÿ@BÿCQEÿWD[IGDÿBCD
    WQAADHÿFAUDHÿPC@[CÿUIYDAEÿIJÿU@E]QHQBDÿIHXQA@YQB@IAEOÿADPÿQAUÿITUO
    QAUÿG@TT@IAEÿIJÿ@AU@c@UFQTEOÿTIIEDTbÿQAUÿB@XCBTbÿHDTQBDUOÿ]HDEEÿJIH
    [CQAXDe
    ZAbÿ]CDAIGDAIAÿBCQBÿED@YDEÿBCDÿAQB@IAgEÿQBBDAB@IAÿBC@EÿGF[CÿADDUEÿQ
    AQGDhCDQUT@ADÿPH@BDHEÿGQSDÿEFHDÿIJÿBCQBeÿiFBÿ@Bÿ@EÿCQHUÿBIÿBQTSÿQWIFB
    BCDÿAQB@IAQTÿiTQ[Sÿj@cDEÿdQBBDHÿGIcDGDABÿP@BCIFBÿ@G]QHB@AXÿQÿJQTED
    EDAEDÿIJÿ@AEB@BFB@IAQTÿ[ICDHDA[DÿBIÿ@BeÿRJÿ[IFHEDOÿBCDÿ[@c@TÿH@XCBE
    GIcDGDABÿIJÿBCDÿgkLEÿPQEÿ@BEDTJÿJQHÿJHIGÿGIAIT@BC@[OÿWFBÿBCDHDÿQHDAgB
    HDQTTbÿQAQTIXFDEÿBIÿBCDÿfIFBCDHAÿVCH@EB@QAÿjDQUDHEC@]ÿVIAJDHDA[DÿIH
    BCDÿfBFUDABÿlIAc@ITDABÿVIIHU@AQB@AXÿVIGG@BBDDÿ@AÿBIUQbgEÿQ[B@c@EB
    E[DADeÿmnBgEÿUD[DABHQT@YDUÿWFBÿ[IIHU@AQBDUOoÿEQbEÿdQFH@[Dÿd@B[CDTTOÿQA
    IHXQA@YDHÿP@BCÿQÿXHIF]ÿ[QTTDUÿiTQ[SW@HUeÿmaCDHDÿQHDÿAIÿBI]pUIPA
    GQAUQBDEeo

%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           0145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




        ./010.ÿ345674389:




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           6145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




                                                                  /0121/ÿ45678549:;



    <=>ÿ@=>ABÿA==CÿDEÿFEÿEGFHÿIDJKÿLGMÿN=OMNMPEÿ=QÿEGMÿRSTHÿPMMBMBÿDÿUFV
    FPHEFE>EF=PDAÿHEW>@E>WMÿE=ÿNDCMÿEGFPVHÿI=WCXFPÿYDWEÿUM@D>HMÿ=QÿEGM
    AFNFEDEF=PHÿ=QÿEGMÿEM@GÿDEÿEGMÿEFNMZÿ[=IÿEGDEÿCFPBÿ=QÿHEW>@E>WMÿGDHÿ@=NM
    E=ÿHMMNÿOMHEFVFDAZÿ\QEMWÿ]F@GDMAÿ^W=IPÿIDHÿHG=EÿBMDBÿFPÿ_MWV>H=P`
    ]FHH=>WFÿ̀DPBÿEGMÿ@FEJÿUM@DNMÿDÿAFVGEPFPVÿW=BÿQ=WÿD@EFOFHNÿ̀]@CMHH=P
    HDJHÿGMÿGDBÿDÿCFPBÿ=QÿMYFYGDPJÿDU=>EÿN=OMNMPEaU>FABFPVKÿbcMÿBFBPRE
%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           .145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
    .//0ÿ2.34245426.3ÿ46ÿ06ÿ2478ÿ9/ÿ3:;3<ÿ=6>2:?ÿ@/02:ÿ>65?0ÿ3/AB/ÿ:3ÿ:
    365A>/ÿ6Cÿ?2B/7ÿA:Dÿ2.C6A@:426.<ÿE4ÿ>65?0ÿ35@@6.ÿF/6F?/ÿ46ÿ49/ÿ34A//43
    :.0ÿ>66A02.:4/ÿ49/2Aÿ@6B/@/.43ÿ2.ÿA/:?ÿ42@/<ÿG.0ÿ24ÿ>65?0ÿ3D2C4?;ÿF539
    H:>Iÿ:J:2.34ÿ3F5A2653ÿ@/02:ÿ.:AA:42B/3ÿD249ÿ49/ÿC6A>/ÿ6Cÿ:ÿC/D
    49653:.0ÿA/4D//43<
    KCÿ>65A3/7ÿ36@/ÿ?/B/?ÿ6Cÿ2.34245426.LH52?02.Jÿ23ÿ342??ÿ>A5>2:?7ÿ:3ÿ49/
    @6B/@/.4ÿ9:3ÿA/:?2M/0<ÿG.0ÿ49/A/ÿ:A/ÿ06D.320/3ÿ46ÿ49/ÿ@/02:
    /.B2A6.@/.4ÿ49:4ÿ460:;N3ÿ:>42B2343ÿ9:B/ÿ:0:F4/0ÿ46<ÿO/3F24/ÿ243ÿ35>>/33
    2.ÿ@:I2.JÿB20/63ÿ6CÿF6?2>/ÿB26?/.>/ÿJ6ÿB2A:?7ÿ36>2:?ÿ@/02:ÿ243/?Cÿ9:3
    H/>6@/ÿ:.649/Aÿ:A/.:ÿD9/A/ÿH?:>IÿF/6F?/ÿ:A/ÿ:H53/0<ÿP:A:33@/.47
    49A/:437ÿ:.0ÿ2.35?43ÿ:A/ÿH:32>ÿ9:M:A03ÿ6Cÿ6.?2./ÿ:>42B23@ÿ460:;7ÿH54
    49/;ÿ:A/ÿ/3F/>2:??;ÿF/AB:32B/ÿC6Aÿ:.;6./ÿ3F/:I2.Jÿ6.ÿ49/ÿ465>9;
    35HQ/>4ÿ6CÿA:>/ÿ2.ÿG@/A2>:<ÿR>I/336.7ÿC6Aÿ6./7ÿ3:;3ÿ9/ÿ9:3ÿH?6>I/0
    @6A/ÿ49:.ÿST7UUUÿF/6F?/ÿCA6@ÿ2.4/A:>42.JÿD249ÿ92@ÿ6.ÿVD244/A<ÿP/
    A/4D//43ÿ36@/ÿ6Cÿ49/ÿ9:4/A3<ÿE4N3ÿ6>>:326.:??;ÿ9:A0ÿ46ÿA/:0<ÿWV9/A/N3ÿ:
    34:?/7ÿ>6.B/.426.:?ÿD2306@ÿ49:4ÿ3:;3ÿ6B/A4ÿA:>23@ÿ23ÿ?:AJ/?;ÿ:ÿ492.Jÿ6C
    49/ÿF:34ÿ2.ÿG@/A2>:<ÿX96/B/Aÿ3:;3ÿ4923ÿ>?/:A?;ÿ9:3ÿ.64ÿ3F/.4ÿ@5>9
    42@/ÿ6.ÿVD244/A<ÿY60ÿ9/?Fÿ49/@ÿ2Cÿ49/;ÿ34:A4ÿA/:02.Jÿ>6@@/.43ÿ6.
    Z65V5H/<[

    V923ÿ@2J94ÿ3//@ÿ?2I/ÿ:.ÿ6FF6A45.24;\ÿOA:D2.Jÿ9:4/ÿ654ÿ2.46ÿ49/ÿ?2J94
    D:37ÿ:C4/Aÿ:??7ÿ:ÿ32J.:45A/ÿ4:>42>ÿ6Cÿ49/ÿ>2B2?ÿA2J943ÿ@6B/@/.4<ÿV/?/B23/0
    C664:J/ÿ6CÿD/??L0A/33/0ÿD924/ÿF/6F?/ÿ9/>I?2.JÿH?:>Iÿ>92?0A/.ÿ:3ÿ49/;
    D:?I/0ÿ46ÿ3>966?ÿD/A/ÿF6D/AC5?ÿH/>:53/ÿ49/;ÿD/A/ÿ36ÿF5H?2>7ÿ3:;3ÿ]23:
    ^:I:@5A:7ÿ:ÿFA6C/336Aÿ6Cÿ@/02:ÿ:.0ÿA:>/ÿ:4ÿ49/ÿ_.2B/A324;ÿ6C
    R2>92J:.<ÿ̀a54ÿD9/.ÿ49:4ÿ9:FF/.3ÿ6.ÿVD244/A7ÿ24N3ÿA/:??;7ÿA/:??;
    FA2B:4/<8ÿG.;ÿJ2B/.ÿ4D//4ÿ@2J94ÿH/ÿF5H?2>7ÿH54ÿ6.?2./ÿ49A/:43ÿ:A/
    023/@H602/0ÿ:.0ÿ:.6.;@653<ÿa;34:.0/A3ÿ06.N4ÿ3//@ÿ46ÿ4:I/ÿ49/@ÿ:3
    3/A2653?;<ÿb?537ÿ49/ÿC5??ÿ/cF/A2/.>/ÿ6CÿA/>/2B2.Jÿ:ÿ49653:.0ÿ49A/:43ÿ@:;
%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           25145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
    ./01ÿ345001ÿ64ÿ7408ÿ61ÿ894ÿ34:;<;4/8=ÿ>?4/ÿ;/ÿ894ÿ<5/.<8;:./ÿ.7ÿ@.:;50
    A4B;5CÿA.6@ÿ534/D8ÿ500ÿ8958ÿ?;@;604=
    E/Bÿ.7ÿ:.F3@4Cÿ@.:;50ÿA4B;5ÿ;@ÿ50@.ÿ<3.7.F/B01ÿ@F@:4<8;604ÿ8.
    @F3?4;005/:4=ÿG4ÿH/.Iÿ/.Iÿ8958ÿA5/1ÿ045B43@ÿ.7ÿJ05:HÿK;?4@ÿL58843
    95?4ÿ644/ÿA./;8.34Bÿ61ÿ74B4350ÿ05Iÿ4/7.3:4A4/8ÿ5M4/:;4@=ÿN958ÿ95@
    <3.A<84BÿA5/1ÿ8.ÿ@8538ÿ@44H;/Mÿ.F8ÿA.34ÿ@4:F34ÿ:95//40@Oÿ;/ÿ/45301
    500ÿA1ÿ:./?43@58;./@ÿI;89ÿ5:8;?;@8@ÿ56.F8ÿ9.Iÿ8941ÿF@4ÿB;77434/8
    <0587.3A@Cÿ89434ÿI5@ÿ5ÿ<.;/8ÿI94/ÿ8941ÿ8.0BÿA4ÿ8941ÿB;B/D8ÿI5/8ÿ8.ÿ@51
    5/1ÿA.34ÿ7.3ÿ@4:F3;81ÿ345@./@=




                                                                                                      PQRSRPÿUVWXYVUZ[\



%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                                     22145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
    ./0112ÿ/405ÿ678969:/2ÿ;5ÿ<0==>59ÿ;:<ÿ?@7/9;:ÿ;5ÿ0/ÿ6;Aÿ59962ÿ4;5
    67>:/9<ÿ5769ÿ7=ÿ/49ÿ675/ÿ?7/9:/ÿB0801ÿ@0C4/5ÿ;B/08056ÿ50:B9ÿ/49ÿDEF5GÿH/
    491?9<ÿ59B>@9ÿ/49ÿ@9678;1ÿ7=ÿ/49ÿI7:=9<9@;/9ÿ=1;Cÿ=@76ÿ/49ÿ.7>/4
    I;@710:;ÿB;?0/71GÿH/ÿ491?9<ÿ?@955>@9ÿ/49ÿ=9<9@;1ÿC789@:69:/ÿ/7
    0:895/0C;/9ÿ?710B9ÿ?@;B/0B95ÿ0:ÿJ9@C>57:ÿ;:<ÿK;1/067@9GÿH/ÿ4;5
    5>BB955=>11Aÿ?>549<ÿL967B@;/0Bÿ?@950<9:/0;1ÿB7:/9:<9@5ÿ/7ÿB769
    =7@M;@<ÿM0/4ÿ?710BAÿ?@7?75;15ÿ7:ÿ/49ÿ055>95ÿ/4;/ÿ5?9B0=0B;11AÿB7:B9@:
    N1;BOÿ?97?19ÿ0:ÿP69@0B;GÿP:<ÿ;:ÿ7==5477/ÿ7=ÿ/49ÿ678969:/2ÿ;ÿ?@7Q9B/
    B;119<ÿI;6?;0C:ÿR9@7ÿ/4;/ÿM;5ÿ7@C;:0S9<ÿ0:ÿ?;@/ÿNAÿTBO9557:2ÿ4;5ÿ?>/
    =7@M;@<ÿ;ÿN>:B4ÿ7=ÿ5?9B0=0Bÿ?710BAÿ?@7?75;15ÿ/7ÿ>?@77/ÿ?710B9ÿ80719:B9G
    Pÿ4>C9ÿ@9;57:ÿ=7@ÿ;11ÿ/405ÿ5>BB955ÿ05ÿ/4;/2ÿ?9@4;?5ÿ67@9ÿ/4;:ÿ;:Aÿ7/49@
    67<9@:ÿP69@0B;:ÿ?@7/95/ÿ678969:/2ÿ/49AD89ÿ=0C>@9<ÿ7>/ÿ47Mÿ/7
    6;@54;1ÿ/7<;AD5ÿ/7715G




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           24145
012314526                             789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




                                                                      ÿ




    012ÿ45624270ÿ189ÿ;<=>ÿ?;@ÿ;A>B?CDÿED>F>GA@ÿHGBÿ<C==ÿI>AIDCBC
      CFFCIBJÿKÿHC<LCMCÿB?;BÿN<;IOÿPLMC=ÿQ;BBCDÿ?;=ÿI?;ARC@ÿB?CÿML=ICD;<
      CSECDLCAICÿ>FÿHCLARÿH<;IOÿLAÿTUCDLI;VÿKÿ=CCÿB?L=ÿLAÿB?CÿW;XÿLBÿ?;=
%&HC  I9>UC;I
      11999'  '8(1452)1>UUGAL
                           25189*+ *B
                                          XD
                                           *( C
                                                 *F
                                                   ,<
                                                     C
                                                      *SB
                                                        8>D
                                                            *(C
                                                                I
                                                                 *8>D
                                                                    *-@L
                                                                         **AB C1D;IBL>A=WLB?E><LIC ;?;HLB2.145
                                                                               %89
012314526
    /01230ÿ5ÿ12336789:ÿ;078<9ÿ=0>ÿÿ92ÿ
                                        ÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
                                           ;012;?ÿ8790;519827@ÿA89BÿC2=810D5ÿB5/89
    9B59ÿ8@ÿ03C2A0;87EFÿ0G07ÿ5@ÿ89ÿB8EB=8EB9@ÿ/=51HÿG6=70;5/8=89:IÿJÿ@00ÿ89ÿ87
    9B0ÿ;8@0ÿ2<ÿ5ÿ70AÿE;26Cÿ2<ÿ/=51HÿC6/=81ÿ8790==01965=@ÿ57?ÿ87ÿ9B0
    /0E87787E@ÿ2<ÿ5ÿ70AÿC2=89815=ÿ=57E65E0IÿK7?ÿJÿ@00ÿ89ÿ87ÿ3:ÿ2A7
    0>C0;80710I
    JÿE;0Aÿ6Cÿ87ÿL:=0;FÿL0>5@Fÿ5ÿ@35==ÿ189:ÿ87ÿ9B0ÿ05@90;7ÿC5;9ÿ2<ÿ9B0ÿ@9590Fÿ87
    9B0ÿMNNN@IÿJÿ59907?0?ÿ9B0ÿ=215=ÿO59B2=81ÿB8EBÿ@1B22=D729ÿ9B0ÿ=215=
    C6/=81ÿ@1B22=ÿ7530?ÿ5<90;ÿP2/0;9ÿQIÿR00FÿAB0;0ÿ9B0ÿ35S2;89:ÿ2<ÿ9B0
    @96?079ÿ/2?:ÿA5@ÿ727AB890IÿT2ÿ270ÿ15==0?ÿ30ÿ5ÿ78EE0;Fÿ9B26EBÿAB890
    <;807?@ÿA26=?ÿ@2309830@ÿ6@0ÿ9B0ÿ@=6;ÿ92ÿ;0<0;ÿ92ÿ29B0;ÿ/=51HÿC02C=0Uÿ87
    9B0ÿ70>9ÿ/;059BFÿ9B0:V?ÿ5@@6;0ÿ30ÿJÿA5@ÿ?8<<0;079IÿW0@C890ÿ127@9579=:
    <00=87Eÿ=8H0ÿJÿA5@ÿ5ÿ92H07Fÿ2;ÿ9B59ÿJÿB5?ÿ92ÿ98C920ÿ5;267?ÿAB890
    @07@898G8980@FÿJÿ126=?7V9ÿB5G0ÿ92=?ÿ:26ÿAB59ÿ58=0?ÿ30IÿJÿA5@7V9ÿC2=89815==:
    127@1826@IÿJÿ?8?7V9ÿB5G0ÿ9B0ÿ=57E65E0ÿ92ÿ@C05Hÿ5/269ÿ381;25EE;0@@827@F
    5EE;0@@827X5EE;0@@827@Fÿ2;ÿ@9;6196;5=ÿC;0S6?810IÿJÿS6@9ÿ07?6;0?ÿ5ÿ9B87E
    JÿA5@7V9ÿ9295==:ÿ@6;0ÿJÿA5@ÿ07?6;87EI




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891     2.145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           2)145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$


                                                                                        ./010.ÿ345674389:




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           23145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




                                                                                                  ./010.ÿ345674389:



    ;<=ÿ?ÿ@ABÿC=DEEÿFGHGHIGFÿ=JGÿKE<LFGC@GB=ÿEDMJ=DBMÿLKÿHNÿJDMJÿC@JLLEOC
    JAEEPANCÿABQÿ=JGÿRGFSACDSGÿCGBCGÿ=JA=ÿCLHG=JDBMÿPACÿQGGRENÿPFLBMT
    UJGÿADFÿD=CGEKÿKGE=ÿ=LVD@Tÿ?ÿJAQÿBDMJ=HAFGCÿAIL<=ÿB<@EGAFÿFGA@=LFC
    CGBQDBMÿ@EL<QCÿLKÿRLDCLBÿDB=Lÿ=JGÿCWNTÿXBÿ=JLCGÿBDMJ=Cÿ?OQÿPAWGÿ<RÿABQ
%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                                 20145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$
    .//0ÿ234/563ÿ78ÿ9:;</9ÿ=2ÿ23>ÿ7//;ÿ=;<ÿ9/;<>4ÿ3/9ÿ./;6ÿ:2ÿ9/5.<
    ?>ÿ?>@/4>ÿAÿB/5.<ÿ>CB=D>E
    F/>Cÿ:2ÿC>>7ÿC24=;6>ÿ23=2ÿAÿ;/9ÿ=CC/B:=2>ÿ23/C>ÿ<4>=7Cÿ9:23ÿ4=B:C7G
    H3=2ÿAÿC>>ÿ23>ÿ5;>=C>ÿAÿ@>.2ÿ23>;ÿ=Cÿ=ÿCD>B:>Cÿ/@ÿD4/@/5;<ÿ=.:>;=2:/;
    23=2ÿAÿ9=C;I2ÿ=2ÿ=..ÿ=?.>ÿ2/ÿB/7D4>3>;<Jÿ?>B=5C>ÿ;/23:;6ÿAI<
    >KD>4:>;B><ÿ?>@/4>ÿ3=<ÿD4>D=4><ÿ7>ÿ2/ÿ5;<>4C2=;<ÿ5;23:;0:;6ÿ3=2>G
    H3:Cÿ0:;<ÿ/@ÿB.=4:28ÿ=?/52ÿ78ÿ/9;ÿ>KD>4:>;B>ÿ3=CÿB/7>ÿ9:23ÿ2:7>ÿ=;<
    <:C2=;B>EÿAÿB=;I2ÿ3>.Dÿ?52ÿ23:;0ÿ23=2ÿ:@ÿAI<ÿ?>>;ÿ=ÿ@>9ÿ8>=4Cÿ8/5;6>4L:@
    78ÿ5D?4:;6:;6ÿ:;ÿH8.>4ÿ3=<ÿ/M>4.=DD><ÿ9:23ÿ23>ÿD=C2ÿ29/ÿ8>=4Cÿ/@
    <:6:2=.ÿ=;<ÿ:;2>..>B25=.ÿ@>47>;2ÿ:;ÿN7>4:B=LAÿ9/5.<ÿ3=M>ÿ4>=.:O><ÿ@=4
    >=4.:>4ÿ23=2ÿ93=2ÿAÿ@>.2ÿ9=C;I2ÿD=42:B5.=4.8ÿ5;5C5=.EÿPN..ÿ/@ÿ=ÿC5<<>;JQ
    RB0>CC/;ÿC=8CJÿP8/5ÿC>>ÿ23=2ÿ23>4>ICÿ=ÿB/775;:28ÿ/@ÿD>/D.>ÿ93/ÿC3=4>
    23>ÿC=7>ÿC87D2/7CEQ




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           26145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$

                                                                                                                /0121/
        345674389:




    ;<ÿ>?@ABCDÿBEFACGÿBHIJK?IBÿFACÿL?KÿCL?@MENÿOEFKPBÿQEHÿRSF>TÿUVWCB
    XFKKCAÿFJJCFABÿK?ÿYCÿBEV<KVLMÿVLK?ÿFÿLCQÿJEFBCNÿZOECÿI?WCICLK
    G?CBLPKÿQVLÿV<ÿKECACPBÿ?LSHÿFÿBIFSSÿBCKÿ?<ÿJC?JSCÿQE?ÿ@LGCABKFLGÿKEC
    B?S@KV?LBD[ÿX>TCBB?LÿBFHBNÿOECÿI?WCICLKÿQVLBÿQECLÿKECACPBÿFÿYA?FG
    @LGCABKFLGVLMÿKEFKÿQCÿLCCGÿFÿBHBKCIÿKEFKÿG?CBLPKÿTVSSÿJC?JSCDÿQECLÿF
    >AVKV>FSÿIFBBÿ?<ÿ>VKV\CLBÿ>FLÿCLWVBV?LÿQEFKÿKEFKÿS??TBÿSVTCDÿFLGÿQECL
    >?L>ACKCÿBKCJBÿFACÿKFTCLÿK?ÿIFTCÿVKÿEFJJCLN]VBK?AVFLBÿ?<ÿKECÿ^_`aBÿKFST
    FY?@KÿE?QÿKECÿICGVFÿ?<ÿKECÿKVICÿECSJCGÿCBKFYSVBEÿFÿZLCQÿ>?II?L
    BCLBC[ÿFY?@KÿAF>CÿVLÿbICAV>FNÿcÿKEVLTÿKECÿLCQÿ>?II?LÿBCLBCÿYCVLM
    CBKFYSVBECGÿL?QÿVBÿKEFKÿAF>VBIÿFLGÿKECÿBKA@MMSCÿFMFVLBKÿVKÿG?ÿL?KÿCdVBK
    B?ICQECACÿVLÿKECÿGVBKFLKÿJFBKeÿAF>VFSÿF>KVWVBIÿGVGLPKÿCLGÿF<KCAÿfVLM
    FLGÿKECÿRSF>TÿgFLKECAÿgFAKHNÿOC>EL?S?MHÿEFBÿECSJCGÿIFTCÿK?GFHPB
    BKA@MMSCÿ<CCSÿY?KEÿGV<<CACLKÿ<A?IÿFLGÿ>?LKVL@?@BÿQVKEÿKECÿ>VWVSÿAVMEKB
    CAFNÿbSSÿKECÿKCAA?AÿFLGÿMACFKLCBBÿQCÿFBB?>VFKCÿQVKEÿKEFKÿI?ICLKÿVB
    AVMEKÿVLÿ<A?LKÿ?<ÿ?@Aÿ<F>CBDÿFBÿLCFAÿK?ÿ@BÿFBÿ?@AÿB>ACCLBN




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                                    2.145
012314526                                      789ÿ ÿÿ ÿÿ8ÿÿ8ÿÿÿ89ÿÿ !"#$




    ./012ÿ4567862ÿ:;<=>?@ABCDEC@FÿGHÿJKÿJHHLMGJNOÿOPGNLQÿJNÿNROÿSCT
    UCDV<W=XY
    ZRGHÿJQNGM[OÿJ\\OJQHÿGKÿNROÿ]L^O_`OQÿabcdÿGHHeOf




%&11999'9'8(1452)125189*+ **( *,*8*(*8*-**%891                           45145
